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 5
       JVS–KES (E.D. Wis.) & Henry et al. v. Kia America Inc., et al., No. 8:22–cv–01729–
 6     JWH –DFM (C.D. Cal.)
 7

 8                            UNITED STATES DISTRICT COURT
 9
                             CENTRAL DISTRICT OF CALIFORNIA
10

11
       In Re: KIA HYUNDAI VEHICLE THEFT CASE NO.: 8:22–ML–3052 JVS(KESx)
12     MARKETING, SALES PRACTICES,
                                        APPLICATION OF JAMES B.
13     AND PRODUCTS LIABILITY           BARTON FOR APPOINTMENT TO
       LITIGATION                       LEADERSHIP POSITION
14
                                                       Date: February 7, 2023
15     This document relates to:                       Time: 9:00 a.m.
       ALL CASES                                       Place: 411 W. Fourth St.
16                                                            Santa Ana, CA 92701
                                                              Court Room 10C
17

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 1     I.    INTRODUCTION
 2           Nearly twenty–four months ago, as the Milwaukee metropolitan area was
 3     being enveloped in an auto theft “epidemic,” as the Milwaukee Police Department
 4     (“MPD”) put it, our firm began to investigate why the vehicles of two importers, Kia
 5     America, Inc., and Hyundai Motor America (collectively, “Defendants”), comprised
 6     nearly 70% of these thefts. Our findings revealed that for more than twenty–five
 7     years, Defendants flouted the advice of the National Highway Safety Transportation
 8     Administration (“NHTSA”) and the mores of the automotive industry by failing to
 9     equip most of their vehicles with ubiquitous antitheft technologies designed to curb
10     easy cases of auto theft. Defendants consciously made this decision as a cost–saving
11     measure; they touted the utility of certain antitheft measures to NHTSA, but only
12     installed this technology as standard equipment on their high–end models.
13           Thus, on June 23, 2021, we filed the first class action against Defendants in
14     the Milwaukee County Circuit Court, which was then removed to the Eastern
15     District of Wisconsin. See Marvin v. Kia America, Inc., E.D. Wis. Case No. 2:21–cv–
16     01146–PP (the “Marvin Suit” or the “First–Filed Suit”), renumbered as C.D. Cal. Case
17     No. 8:22–CV–02304–JVS–KESx (hereafter, the “Marvin Dkt.”). The First Amended
18     Complaint (“FAC”) in the Marvin Suit was filed on November 4, 2021 and
19     Defendants’ motions to dismiss the FAC were fully briefed and have been awaiting
20     disposition since March 25, 2022.
21           Despite prosecuting the Marvin Suit for more than a year before the next
22     related action was filed, it did not receive widespread publicity because the
23     Complaint and FAC were filed under seal. Although a nascent firm in our position
24     would have relished the press coverage, we felt obliged to take steps within our
25     control to avoid exacerbating the problem. Indeed, given the detailed allegations in
26     our pleadings that explained the defect in Defendants’ vehicles at the heart of this
27     crisis, there was serious concern that publishing this information in one, cohesive
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 1     document could cause auto thefts to proliferate—both in Wisconsin and beyond its
 2     borders. Jude Pepper ultimately agreed, finding good cause existed to seal the FAC
 3     and approving a set of stipulated redactions, so that a publicly available version could
 4     be filed to mitigate these risks:
 5            Having reviewed the 168–page amended complaint and the proposed
 6            redactions, the court is satisfied that the parties have made sufficient effort
 7            to narrowly tailor the redactions to prevent the disclosure of the design defect that
 8            allegedly makes it easy to steal the Kia and Hyundai cars. While some of this
 9            information could be discovered through an internet search, not all of it appears
10            to be publicly available or consolidated into a single document. The court finds
11            that the parties have established good cause for restricting the amended
12            complaint and for filing a redacted version of the same.
13     (Marvin Dkt. # 34.)
14            The redacted FAC became publicly available on July 8, 2022. (Id., Dkt. # 35.)
15     In the weeks thereafter, a deluge of copycat actions ensued, many of which crib—and
16     in some instances, copy verbatim—the unredacted allegations from the FAC. To
17     expand the scope of the Marvin Suit, and given the situs of Defendants’ corporate
18     headquarters, our firm and our co–counsel, Sauder Schelkopf LLC, filed a separate
19     action in the Central District of California that was initially assigned to Judge
20     Holcomb and Magistrate Judge McCormick. See Henry v. Kia America, Inc., C.D. Cal.
21     Case No. 8:22–cv–01729 (the “Henry Suit”). On December 13, 2022, the JPML
22     ordered all pending class actions to be consolidated before this Court.
23            Pursuant to Case Management Order No. 1 (the “Order”), (see Dkt. # 2), I
24     respectfully request appointment to the Plaintiffs’ Leadership Committee and/or an
25     appropriate subcommittee given our initiation of the First–Filed Suit; our integral
26     knowledge of the factual and legal issues at issue; the substantial commitment of
27     time and resources we have already invested; and the need to ensure that the class
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 1     members in Milwaukee and its surrounding municipalities—the community most
 2     afflicted by this crisis—have a voice in this MDL.
 3     II.   ARGUMENT
 4           The Order requires any leadership applications to be filed with the Court on
 5     or before January 23, 2023, and further outlines the following criteria governing the
 6     Court’s consideration of suitable candidates: “(1) knowledge and experience in
 7     prosecuting complex litigation, including class actions; (2) willingness and ability to
 8     commit to a time–consuming process; (3) ability to work cooperatively with others;
 9     and (4) access to sufficient resources to prosecute.” (Dkt. # 2, at 2–3.) Each
10     consideration is addressed below.
11           1. Knowledge and Experience in Prosecuting Complex Litigation
12           I am the founding shareholder of Barton Legal S.C., a complex litigation
13     boutique in Milwaukee, Wisconsin. From 2013 to 2019, I was selected by Wisconsin
14     Super Lawyers as a “Rising Star” in the field of business litigation, a distinction held
15     by the top 2.5% of attorneys in Wisconsin who have practiced for less than ten years.
16     Since 2020, I have also been annually designated as a “Super Lawyer” in business
17     litigation, which is reserved to the top 5% of attorneys in the state.
18           I have also been consistently recognized by Best Lawyers for my work in
19     commercial litigation since 2019. Apart from these personal recognitions, my firm,
20     Barton Legal S.C., has been consistently recognized since 2020 by U.S. News & World
21     Report in its list of “Best Law Firms,” receiving a regional ranking in Wisconsin for
22     the work we do in commercial litigation. These professional honors are awarded after
23     an extensive peer (and in some instances, client) review process based on our
24     experience, success, and commitment to client service.
25           I began my career as an associate in the litigation practice group of Michael
26     Best & Friedrich LLP (“MBF”), one of Wisconsin’s largest law firms, where my
27     practice focused extensively on product liability matters, which frequently involved
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 1     defending consumer protection claims. I spent significant time litigating these types
 2     of cases throughout the country, including a case before this Court, 1 and counseling
 3     the firm’s clients on the scope and enforceability of the warranties they furnished
 4     with their consumer products, which are subject to the Magnuson–Moss Warranty
 5     Act and Chapter 2 of the Uniform Commercial Code.
 6                Additionally, I’ve been fortunate over my career to have the opportunity to
 7     litigate a variety of complex disputes that implicated myriad complex legal issues,
 8     including my substantial involvement in the following matters:
 9            •       Lead counsel to a North American machine tool distributor in an
10
                      international arbitration against a Korean manufacturer with more than
                      $10MM in dispute, which was pending before JAMS International and
11                    settled under favorable terms; in prior litigation before the Eastern District
12                    of Wisconsin, I obtained a permanent injunction to halt a parallel foreign
                      arbitration that the manufacturer initiated before the Korean Commercial
13
                      Arbitration Board in Seoul, Korea. See Dynamic Intl of Wisconsin, Inc. v.
14                    SMEC CO., LTD., E.D. Wis. Case No. 2:18–cv–582.
15            •      Lead counsel for a French client seeking recognition of a foreign judgment
                     that it obtained against a Wisconsin company in France; the Eastern
16
                     District of Wisconsin ultimately recognized the French Judgment as valid
17                   in the United States to allow the French client to initiate collection
18                   activities. The Wisconsin Lawyer later named this case one of the “Top 9
                     Recent Wisconsin Federal Court Decisions” in 2018, given the novel issues
19                   of international law that were previously unaddressed in Wisconsin. See
20                   Societe D’Amenagement et de Gestion de L’Abri Nautique v. Marine Travelift,
                     Inc., E.D. Wis. Case No. 16–CV–785.
21

22            •      Integral member of the litigation and trial team that represented a Native
                     American Tribe and its casino in a multi–fora $90MM dispute stemming
23
                     from a failed bond transaction, which was pending for eight years in the
24                   Western District of Wisconsin (twice), the Seventh Circuit Court of
                     Appeals (twice), the Lac Du Flambeau Tribal Court, and the Waukesha
25
                     County Circuit Court; after multiple bond documents were declared void
26                   under the Indian Gaming Regulatory Act, 25 U.S.C. §§ 2701, et seq., the
27
       1
28         See Abrica v. Grob, Inc. et al., C.D. Cal. Case No. 2:10–cv–03424–JLS–PLA.
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 1                    remaining aspects of the case were slated for a seven–week jury trial; I
                      successfully briefed and argued various pre–trial motions, including two
 2                    Daubert motions that preserved the testimony of our clients’ liability and
 3                    damages experts; the case settled during voir dire following these rulings
                      under terms extremely favorable to our clients. See Saybrook Tax Exempt
 4
                      Investors LLC et al. vs. Lac Du Flambeau Band Of Lake Superior Chippewa
 5                    Indians et al., Waukesha County Cir. Ct. Case No. 2012–CV–187.
 6
              •       Lead counsel for the plaintiff in a shareholder dispute concerning the value
 7                    of a leading luxury brand; I first–chaired the private, four–day arbitration
                      and was responsible for handling all motion practice, cross–examining the
 8
                      lead defendant, and examining numerous experts; the panel issued a
 9                    $5MM arbitration award in favor of plaintiff, which was dramatically in
10                    excess of the amount proffered by defendants’ experts.

11            •       Lead counsel for the defendant in a copyright infringement action against
12
                      plaintiffs seeking a seven–figure damages award for willful infringement; I
                      obtained summary judgment in defendant’s favor on all copyright claims,
13                    which prompted an extremely favorable settlement given the fee–shifting
14                    provision under the Copyright Act. See Boehm v. Legends of the Field, LLC et
                      al., W.D. Wis. Case No. 15–CV–00683.
15

16                As this list of exemplar matters evinces, I’ve gained substantial experience in
17     successfully handling complex litigation over my legal career. A biography is also
18     attached hereto as Exhibit A. Although I have not been lead counsel in a class action,
19     “the fact that class counsel has little class action experience does not destroy his or her
20     adequacy as class counsel.” See O’Dell v. Nat’l Recovery Agency, 291 F. Supp. 3d 687,
21     701 (E.D. Pa. 2018) (citing 1 NEWBERG ON CLASS ACTIONS, § 3.73 (5th ed.)); accord
22     O'Neill v. Gourmet Sys. of Minn., Inc., 219 F.R.D. 445, 454 (W.D. Wis. 2002) (same);
23     Alhassid v. Bank of Am., N.A., 307 F.R.D. 684, 699 (S.D. Fla. 2015) (same).2
24

25        2
             See also Elliott v. LVNV Funding, LLC, No. 3:16–kcv–00675–RGJ, 2019 WL
26     4007219, at *5 (W.D. Ky. 2019) (“[W]hile experience prosecuting class action suits
27     is a factor to be weighed when determining the adequacy of class counsel, it is not
       dispositive”) (citing Wells v. Allstate Co., 210 F.R.D. 1, 11 (D.D.C. 2002)); Whittington
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 1           In fact, courts in this circuit have explained that in assessing the qualifications
 2     of proposed class counsel, an important consideration is “such counsel’s performance in
 3     the action itself.” Scholl v. Mnuchin, 489 F. Supp. 3d 1008, 1045 (N.D. Cal. 2020)
 4     (emphasis added) (collecting cases); see also Jama v. State Farm Fire & Cas. Co., 339
 5     F.R.D. 255, 269 (W.D. Wash. 2021) (finding class counsel adequate when they “have
 6     demonstrated throughout the course of this case their knowledge of the applicable
 7     law and the subject matter of this case”).
 8           Applied here, we filed the Marvin Suit more than a year before the next related
 9     action. Our work product was created from scratch through our detailed investigation,
10     well before any other law firm or media outlet identified: (i) the contours of the
11     multifaceted defect that make Kias and Hyundais easy to steal; or (ii) Defendants’
12     knowledge of the risk that this defect posed, which is central to the consumer
13     protection claims in all related actions. Further, we have already researched and
14     briefed numerous legal issues in opposing Defendants’ motions to dismiss the Marvin
15     FAC—e.g., Defendants’ preemption, superseding cause, and standing arguments—that:
16     (i) have been awaiting disposition since March 2022; (ii) are common to all related
17     actions; and (iii) forcibly explain why these defenses lack merit.
18           Given the voluminous docket in this MDL, the redacted FAC in the Marvin
19     Suit is being attached hereto as Exhibit B and the parties’ motion to dismiss briefing
20     is being attached hereto as Exhibits C–F for the Court’s convenience.3 As I believe
21     the Court will appreciate, the quality and detail of this work product demonstrates
22     that our firm has “done substantial work to develop and prosecute this matter, and
23

24
       v. United States, 240 F.R.D. 344, 352 (S.D. Tex. 2006) (same); Klender v. U.S., 218
       F.R.D. 161, 166 (E.D. Mich. 2003) (same).
25         3
             The unredacted FAC was ordered sealed by Judge Pepper, which does not
26     appear to have been affected by the Court’s recent Order. (See Dkt. # 2, § 5.5 (only
       vacating orders from transferor courts “imposing dates for pleading or discovery).)
27
       Thus, a redacted version (without exhibits) is being filed herewith. The original FAC
28     is available at Marvin Dkt. # 12–1 (FAC) & 12–2 –12–20 (Exs. A–S).
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 1     [has] not ridden on [other counsel’s] coattails.” In re 5–Hour Energy Mktg. v. Innovation
 2     Ventures, LLC, No. CV134001PSGPLAX, 2013 WL 12134144, at *3 (C.D. Cal. Nov.
 3     8, 2013); see also In re GSE Bonds Antitrust Litig., 377 F. Supp. 3d 437, 438 (S.D.N.Y.
 4     2019) (appointing firm that filed the first case as class counsel because, inter alia, that
 5     firm’s “complaint [was] clearly the template for the great majority of the cases filed
 6     since and here consolidated”).
 7            Nor have we rested on our laurels in seeking this appointment. To gain further
 8     insight into the mechanics of an MDL, I obtained Duke Law School’s Mass Tort MDL
 9     Certificate by participating in the Bolch Judicial Institute’s MDL program in
10     November 2022. And to further augment our team’s capabilities, we co–counseled
11     with Mr. Matthew D. Schelkopf, of Sauder Schelkopf LLC, to jointly prosecute the
12     Marvin and Henry Suits. Given Mr. Schelkopf’s prior work as a mechanic and lifelong
13     car enthusiast, his experience in automotive defect class actions is impeccable and he
14     has been an invaluable resource to: (i) confirm and expound upon the nature of the
15     defect; and (ii) help navigate any procedural complexities in these proceedings.
16            Accordingly, my experience in other facets of complex litigation—coupled with
17     my substantial involvement in this case from the outset—qualifies me to serve in a
18     leadership position. This is especially true considering the contemplated leadership
19     structure where other applicants with more class action experience will also be
20     appointed to leadership positions.
21            2. Willingness and Ability to Commit to a Time–Consuming Process
22            My firm and I are eagerly willing and able to commit to this time–consuming
23     process. We have already expended significant time and effort in this litigation as
24     evidenced by the length and detail of the Marvin FAC, the active litigation in which
25     we have already engaged in that case, and through our prosecution of the Henry Suit,
26     a companion action that expands the geographic scope of the First–Filed Suit.
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 1            3. Ability to Work Cooperatively With Others
 2            My firm and I also pledge to work cooperatively with all counsel involved in
 3     this MDL. Much of our practice is focused on serving clients in Milwaukee and
 4     Southeast Wisconsin, which is a relatively small legal market when compared to New
 5     York, Chicago, Los Angeles, and/or Chicago. On the main, this means that the
 6     Wisconsin bar is a collegial lot because repeat litigation against the same lawyers and
 7     law firms is a common occurrence. From a personal standpoint, I also take pride in
 8     the professional relationships I’ve forged with lawyers throughout my career, whether
 9     in their capacities as local counsel, co–counsel, or opposing counsel. The law, as with
10     any industry, is a relationship business. Thus, we have and will continue to strive to
11     treat all counsel with the same level of respect and professionalism that is incumbent
12     upon all of us as officers of the court.
13           4. Access to Sufficient Resources to Prosecute
14           My firm also possesses sufficient resources to prosecute this case to a
15     resolution, including the financial resources to commit towards this litigation to
16     secure class certification and/or through trial. Indeed, we have already devoted
17     significant resources to this case through our substantial investigative efforts and
18     prosecution of the Marvin and Henry Suits, including, amongst other commitments,
19     our retainer of a consulting engineering expert to opine on facets of the defect.
20            5. Other Considerations
21            Finally, the Order indicated that the Court will “strive for diversity in the
22     appointments, including race, age, sex, and geographical location.” (Dkt. # 2 at 3.)
23     The Court’s laudable emphasis on these factors is presumably rooted in the “repeat
24     player problem” in many MDL proceedings on which many courts and legal scholars
25     have commented. See generally e.g., Elizabeth C. Burch, Diversity in MDL Leadership: A
26     Field Guide, 89 UMKC L. REV. 1, 4 (2021). Relevant here, as a thirty–nine–year–old
27     lawyer who has been practicing for fifteen years, I have ample experience in complex
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 1   litigation but can bring a fresh perspective to this MDL, especially when coupled
 2   with the substantial investigation we have undertaken to date. See id. at 4 (discussing
 3   leadership selection “based on attorneys’ cognitive diversity—meaning different
 4   knowledge, skills, information, and tool kits[,]” which also implicates the diversity
 5   factors enumerated in the Order) (emphasis in original).
 6         Further, the epicenter of this auto theft crisis is in Milwaukee, Wisconsin, my
 7   hometown for eighteen years and whose citizens have been disproportionately
 8   affected by it. At bottom, the impact that this crisis has had on my community is why
 9   we brought suit in the first instance and have zealously fought to vindicate the rights
10   of so many who could not do so for themselves. Appointing a Wisconsin–based
11   lawyer to a leadership position will help ensure that the interests of these Wisconsin
12   class members are protected and further aligns with the Court’s goal of promoting
13   geographic diversity, amongst other considerations.
14                                     CONCLUSION
15         For the foregoing reasons, Plaintiffs from the Marvin and Henry Suits
16   respectfully request that the Court appoint James B. Barton to a leadership position
17   in this MDL.
18                                    BARTON LEGAL S.C.

19                                    /s/ James B. Barton
20                                    James B. Barton (admitted pro hac vice)
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24
                                      Attorneys for Plaintiffs in Marvin et al. v. Kia America
25
                                      Inc., et al., No. 8:22–cv–02304–JVS–KES (E.D. Wis.)
26                                    & Henry et al. v. Kia America Inc., et al., No. 8:22–
27                                    cv–01729–JWH –DFM (C.D. Cal.)
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 1                           CERTIFICATE OF COMPLIANCE
 2         I, James B. Barton, Counsel for Plaintiffs in in Marvin et al. v. Kia America Inc.,
 3   et al., No. 8:22–cv–02304–JVS–KES (E.D. Wis.), and Henry et al. v. Kia America Inc.,
 4   et al., No. 8:22–cv–01729–JWH–DFM (C.D. Cal.), hereby certify that the foregoing
 5   Application complies with the page limit set forth in the Court’s Order No. 1, and
 6   contains 2,943 words, which complies with the word limit set forth in L.R. 11–6.1.
 7   I further certify that on January 23, 2023, I caused the foregoing Application to be
 8   electronically filed using the Court’s CM/ECF system, thereby electronic serving it
 9   upon on all counsel of record.
10

11
                                                     /s/ James B. Barton
                                                     James B. Barton
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